0:21-cv-02090-JMC   Date Filed 07/14/21   Entry Number 1-3   Page 1 of 4




                    Exhibit C
  Notice to Plaintiffs of
 Removal to U.S. District
          Court
        0:21-cv-02090-JMC         Date Filed 07/14/21      Entry Number 1-3        Page 2 of 4




    STATE OF SOUTH CAROLINA                             IN THE COURT OF COMMON PLEAS
                                                          SIXTEENTH JUDICIAL CIRCUIT
    COUNTY OF YORK
                                                             C.A. No. 2020-CP-46-00300
    Crystal Faulkner individually and as Guardian
    for K.F., and John Faulkner individually and
    as Guardian for K.F.,                               NOTICE TO PLAINTIFFS OF FILING
                                                          OF NOTICE OF REMOVAL OF
                          Plaintiffs,                        CIVIL ACTION TO THE
                                                        UNITED STATES DISTRICT COURT
                  v.

    York County School District and Michael
    Abraham,

                          Defendants.


TO:       CYRUS CORBETT, ESQUIRE, AND JOSHUA E. SLAVIN, ESQUIRE, COUNSEL

FOR PLAINTIFFS:

          YOU WILL PLEASE TAKE NOTICE that on July 14, 2021, York County School District 1

(“District”) and Michael Abraham (“Abraham”) (collectively “Defendants”), by and through their

undersigned counsel, have filed a Notice of Removal of Civil Action to the United States District

Court, a copy of which is appended hereto as Exhibit A, praying that the above-entitled action be

removed to the United States District Court for the District of South Carolina, Rock Hill Division.

This notice is provided in accordance with 28 U.S.C. § 1446(d).

          You also are advised that Defendants, having filed the Notice of Removal of Civil Action

to the United States District Court with the Clerk of the United States District Court for the District

of South Carolina, Rock Hill Division, have filed contemporaneously herewith a Notice to the

Circuit Court of Filing of Notice of Removal of Civil Action, a copy of which is appended hereto

as Exhibit B.



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    The proper name for the District is York School District 1.
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     0:21-cv-02090-JMC     Date Filed 07/14/21   Entry Number 1-3      Page 3 of 4




                                       Respectfully Submitted:

                                       WHITE & STORY, LLC


                                       By: s/Lonnesse P. Mitchell
                                          Ashley C. Story (S.C. Bar No. 100578)
                                          Lonnesse P. Mitchell (S.C. Bar No. 101012)
                                          P.O. Box 7036
                                          Columbia, SC 29202
                                          Telephone: (803) 814-0993
                                          Facsimile: (803) 814-1183
                                          astory@sodacitylaw.com
                                          lmitchell@sodacitylaw.com

                                       Attorneys for Defendants York School District 1
                                       and Michael Abraham

July 14, 2021
Columbia, South Carolina




                                         2
     0:21-cv-02090-JMC          Date Filed 07/14/21     Entry Number 1-3       Page 4 of 4




 STATE OF SOUTH CAROLINA                             IN THE COURT OF COMMON PLEAS
                                                         TENTH JUDICIAL CIRCUIT
 COUNTY OF YORK
                                                          C.A. No. 2019-CP-04-00634
 Crystal Faulkner as guardian for K.F., John
 Faulkner as guardian for K.F.,

                       Plaintiffs,                      CERTIFICATE OF SERVICE

                v.

 York County School District,

                       Defendant.

       The undersigned of White & Story, LLC, hereby certifies that he has served Plaintiffs’

counsel with the foregoing NOTICE TO PLAINTIFFS OF FILING OF NOTICE OF

REMOVAL OF CIVIL ACTION TO THE UNITED STATES DISTRICT COURT, by

emailing and mailing a copy of same, postage prepaid and return address clearly indicated, to the

following on this 14th day of JULY 2021:



 William Cyrus Corbett, Esq.                       Joshua E Slavin, Esq.
 Gaston, Marion & Stubbs, P.A.                     P.O. Box 762
 P.O. Box 608                                      Mount Pleasant, SC 29465
 Chester, SC 29706                                 josh@attorneycarolina.com
 corbettwc@gmail.com                               (843) 619-7338
 (803) 385-2114 x22




                                                             s/Ian Thomson_________________
                                                             Ian Thomson – Litigation Paralegal




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